UNITED STATES DISTRICT CC)URT
SOUTHERN DISTRICT OF NEW YORK

 

 

City of Almaty, Kazakhstan and BTA
Bank JSC,

Piaintiffs, 7 iS-Cv~5345 (AJN)(KHP)
~v- _ oRDER

Mukhtar Ablyazov, Vil<tor Khrapunov, Ilyas
Khrapunov, and Triadou SPV S.A.,

Defendants.

 

 

ALISON J. NATHAN, District Judge:

On September 26, 2017, the Court issued an Amended Memorandum Opinion & Grder in
the above-captioned action, concluding, in part, that the Plaintiffs had failed to make a prima
facie showing of personal jurisdiction over Viktor Khrapunov under New York law, but allowing
the Plaintiffs to conduct additional jurisdictional discovery. Dkt. No. 426 at 45-52.

Gn June 20, 2018, Viktor Khrapunov renewed his motion to dismiss the crossclaims for
lack of personal jurisdiction See Dkt. No. 736. ln opposing his motion, the Plaintiffs argued that
Viktor Khrapunov had not sufficiently participated in jurisdictional discovery and filed a cross~
motion to compel him to participate in further jurisdictional discovery. See generally Dkt. No.
768. Per the Court’s referral of this action to Magistrate Judge Parker for general pretrial
supervision, Judge Parker considered the Plaintiffs’ cross-motion to compel, granting the motion
in part on July 23, 2018. See Dkt. No. 800.

Accordingly, the Court hereby DENIES Vil<tor Khrapunov’s renewed motion to dismiss
without prejudice to his ability to file a new motion to dismiss after the close of jurisdictional
discovery.

This Order resolves Dkt. Nos. 736 & 739.

 

 

SO ORDERED.

 
    
   

Dated: July }\§ , 20l8
New York, New York ' K§ -
ft .,

ALISON J. NATHAN

United States District Judge

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